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      Attorneys for Defendants,
 6    LAGOON ASSOCIATES, LLC; and
      COASTLINE REAL ESTATE ADVISORS, INC.
 7
 8                        UNITED STATES DISTRICT COURT
 9                      CENTRAL DISTRICT OF CALIFORNIA
10
11    FRANCISCO SANDOVAL, an                ) Case No.: 2:15-cv-04880-RGK(RAOx)
      individual; HEIDI ARELLANO, an        )
12    individual; C.S.A., a minor by and    )
      through his guardian ad litem, REYNA ) ANSWER TO COMPLAINT FOR
13    VENCES,                               ) MONETARY, DECLARATORY, AND
                                            ) INJUNCTIVE RELIEF
14                 Plaintiffs,              )
                                            )
15          vs.                             )
                                            )
16    LAGOON ASSOCIATES, LLC, a             )
      California Limited Liability Company; )
17    COASTLINE REAL ESTATE                 )
      ADVISORS, LLC, a California           )
18    Limited Liability Company, and DOES )
      1 through 10, Inclusive,              ) ACTION FILED: June 29, 2015
19                                          )
                   Defendants.              )
20                                          )
                                            )
21
22          Defendants LAGOON ASSOCIATES, LLC (“LAGOON”), and
23    COASTLINE REAL ESTATE ADVISORS, INC., erroneously sued as
24    COASTLINE REAL ESTATE ADVISORS, LLC (“COASTLINE”) (collectively
25    “Defendants”), hereby answer the Complaint of Plaintiffs FRANCISCO
26    SANDOVAL, HEIDI ARELLANO, and C.S.A., a minor by and through his
27    guardian ad litem, REYNA VENCES (“Plaintiffs”), as follows:
28    ///
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 1          INTRODUCTION:
 2          1.     In response to paragraph 1 of the Complaint, paragraph 1 contains
 3    legal conclusions and legal arguments that Defendants are not required to admit or
 4    deny. To the extent that any response is deemed necessary, Defendants deny each
 5    and every allegation contained in paragraph 1.
 6          JURISDICTION AND VENUE:
 7          2.     In response to paragraph 2 of the Complaint, Defendants admit only
 8    that original jurisdiction in the Court appears to be appropriate pursuant to 28
 9    U.S.C. § 1331, and that any supplemental jurisdiction in the Court appears to be
10    appropriate pursuant to 28 U.S.C. § 1367. Except as expressly stated herein,
11    Defendants deny each and every other allegation contained in paragraph 2.
12          3.     In response to paragraph 3 of the Complaint, Defendants admit only
13    that venue in this Court appears to be appropriate. Except as expressly stated
14    herein, Defendants deny each and every other allegation contained in paragraph 3.
15          PARTIES:
16          4.     In response to paragraph 4 of the Complaint, Defendants lack
17    knowledge and information sufficient to form a belief as to the truth of the
18    allegations contained in said paragraph and therefore deny each and every
19    allegation contained therein.
20          5.     In response to paragraph 5 of the Complaint, Defendants admit the
21    allegations contained therein.
22          6.     In response to paragraph 6 of the Complaint, Defendants admit only
23    that COASTLINE REAL ESTATE ADVISORS, INC., a California Corporation,
24    was erroneously sued as COASTLINE REAL ESTATE ADVISORS, LLC, has
25    acted as the management company for the Subject Property, and has its principal
26    place of business located in El Segundo, Los Angeles County, California. The
27    remaining allegations contained in paragraph 6 of the Complaint contain legal
28    conclusions and legal arguments that Defendants are not required to admit or
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 1    deny. To the extent that any response is deemed necessary, Defendants deny each
 2    and every other allegation contained in paragraph 6.
 3          7.     In response to paragraph 7 of the Complaint, paragraph 7 contains
 4    legal conclusions and legal arguments that Defendants are not required to admit or
 5    deny. To the extent that any response is deemed necessary, Defendants deny each
 6    and every allegation contained in paragraph 7. In addition, Defendants state that
 7    any inclusion of DOE defendants is improper in this action.
 8          FACTS:
 9          8.     In response to paragraph 8 of the Complaint, paragraph 8 contains
10    legal conclusions and legal arguments that Defendants are not required to admit or
11    deny. To the extent that any response is deemed necessary, Defendants deny each
12    and every allegation contained in paragraph 8.
13          9.     In response to paragraph 9 of the Complaint, Defendants admit only
14    that on or about April 1, 2004, a Lease Agreement was entered into between
15    Plaintiff FRANCISCO SANDOVAL and Defendant COASTLINE for the rental of
16    Unit Number # 103 at the Subject Property. Except as expressly stated herein,
17    Defendants deny each and every other allegation contained in paragraph 9.
18          10.    In response to paragraph 10 of the Complaint, paragraph 10 contains
19    legal conclusions and legal arguments that Defendants are not required to admit or
20    deny. To the extent that any response is deemed necessary, Defendants admit only
21    that pursuant to the Lease Agreement, Plaintiffs agreed to abide by all reasonable
22    rules and regulations which Landlord may make from time-to-time for the
23    protection, good order, safety and cleanliness of the Premises, and deny each and
24    every other allegation contained in paragraph 10.
25          11.    In response to paragraph 11 of the Complaint, Defendants lack
26    knowledge and information sufficient to form a belief as to the truth of the
27    allegations contained in said paragraph, and therefore deny each and every
28    allegation contained therein.
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 1          12.    In response to paragraph 12 of the Complaint, Defendants lack
 2    knowledge and information sufficient to form a belief as to the truth of the
 3    allegations contained in said paragraph, and therefore deny each and every
 4    allegation contained therein.
 5          13.    In response to paragraph 13 of the Complaint, Defendants lack
 6    knowledge and information sufficient to form a belief as to the truth of the
 7    allegations contained in said paragraph, and therefore deny each and every
 8    allegation contained therein.
 9          14.    In response to paragraph 14 of the Complaint, Defendants lack
10    knowledge and information sufficient to form a belief as to the truth of the
11    allegations contained in said paragraph, and therefore deny each and every
12    allegation contained therein.
13          15.    In response to paragraph 15 of the Complaint, Defendants admit only
14    that pursuant to the Lease Agreement, Plaintiffs agreed to abide by all reasonable
15    rules and regulations which Landlord may make from time-to-time for the
16    protection, good order, safety and cleanliness of the Premises, and deny each and
17    every other allegation contained in paragraph 15.
18          INJURIES:
19          16.    In response to paragraph 16 of the Complaint, paragraph 16 contains
20    legal conclusions and legal arguments that Defendants are not required to admit or
21    deny. To the extent that any response is deemed necessary, Defendants deny each
22    and every allegation contained in paragraph 16.
23          17.    In response to paragraph 17 of the Complaint, paragraph 17 contains
24    legal conclusions and legal arguments that Defendants are not required to admit or
25    deny. To the extent that any response is deemed necessary, Defendants deny each
26    and every allegation contained in paragraph 17.
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 1          18.    In response to paragraph 18 of the Complaint, Defendants lack
 2    knowledge and information sufficient to form a belief as to the truth of the
 3    allegations contained in said paragraph, and therefore deny each and every
 4    allegation contained therein.
 5          19.    In response to paragraph 19 of the Complaint, paragraph 19 contains
 6    legal conclusions and legal arguments that Defendants are not required to admit or
 7    deny. To the extent that any response is deemed necessary, Defendants deny each
 8    and every allegation contained in paragraph 19.
 9          FIRST CLAIM (Fair Housing Act):
10          20.    In response to paragraph 20 of the Complaint, Defendants re-allege
11    and incorporate their responses to paragraphs 1 through 19 of this Answer as
12    though completely set forth herein.
13          21.    In response to paragraph 21 of the Complaint, including subpara-
14    graphs A through D, Defendants state that the provisions of the Fair Housing Act,
15    42 U.S.C. §§ 3604(a), (b), and (c), and 3617, speak for themselves. The remaining
16    allegations contained in paragraph 21 of the Complaint contain legal conclusions
17    and legal arguments that Defendants are not required to admit or deny. To the
18    extent that any response is deemed necessary, Defendants deny each and every
19    other allegation contained in paragraph 21.
20          SECOND CLAIM (California Fair Employment and Housing Act):
21          22.    In response to paragraph 22 of the Complaint, Defendants re-allege
22    and incorporate their responses to paragraphs 1 through 21 of this Answer as
23    though completely set forth herein.
24          23.    In response to paragraph 23 of the Complaint, including subpara-
25    graphs A through F, Defendants state that the provisions of the California Fair
26    Employment and Housing Act, California Government Code §§ 12955(a), (c), (d),
27    (f), and (k), and 12955.7, speak for themselves. The remaining allegations
28    contained in paragraph 23 of the Complaint contain legal conclusions and legal
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 1    arguments that Defendants are not required to admit or deny. To the extent that
 2    any response is deemed necessary, Defendants deny each and every other
 3    allegation contained in paragraph 23.
 4          THIRD CLAIM (California Unruh Civil Rights Act):
 5          24.   In response to paragraph 24 of the Complaint, Defendants re-allege
 6    and incorporate their responses to paragraphs 1 through 23 of this Answer as
 7    though completely set forth herein.
 8          25.   In response to paragraph 25 of the Complaint, Defendants state that
 9    the provisions of the California Unruh Civil Rights Act, California Civil Code §
10    51, et seq., speak for themselves. The remaining allegations contained in
11    paragraph 25 of the Complaint contain legal conclusions and legal arguments that
12    Defendants are not required to admit or deny. To the extent that any response is
13    deemed necessary, Defendants deny each and every other allegation contained in
14    paragraph 25.
15          26.   In response to paragraph 26 of the Complaint, Defendants state that
16    the provisions of the California Unruh Civil Rights Act speak for themselves. The
17    remaining allegations contained in paragraph 26 of the Complaint contain legal
18    conclusions and legal arguments that Defendants are not required to admit or
19    deny. To the extent that any response is deemed necessary, Defendants deny each
20    and every other allegation contained in paragraph 26.
21          FOURTH CLAIM (Negligence):
22          27.   In response to paragraph 27 of the Complaint, Defendants re-allege
23    and incorporate their responses to paragraphs 1 through 26 of this Answer as
24    though completely set forth herein.
25          28.   In response to paragraph 28 of the Complaint, paragraph 28,
26    including subparagraphs A through F, contain legal conclusions and legal
27    arguments that Defendants are not required to admit or deny. To the extent that
28    ///
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 1    any response is deemed necessary, Defendants deny each and every allegation
 2    contained in paragraph 28.
 3          29.     In response to paragraph 29 of the Complaint, paragraph 29 contains
 4    legal conclusions and legal arguments that Defendants are not required to admit or
 5    deny. To the extent that any response is deemed necessary, Defendants deny each
 6    and every allegation contained in paragraph 29.
 7          FIFTH CLAIM (Unfair Business Practices):
 8          30.     In response to paragraph 30 of the Complaint, Defendants re-allege
 9    and incorporate their responses to paragraphs 1 through 29 of this Answer as
10    though completely set forth herein.
11          31.     In response to paragraph 31 of the Complaint, Defendants state that
12    the provisions of California Business & Professions Code § 17200, et seq., speak
13    for themselves. The remaining allegations contained in paragraph 31 of the
14    Complaint contain legal conclusions and legal arguments that Defendants are not
15    required to admit or deny. To the extent that any response is deemed necessary,
16    Defendants deny each and every other allegation contained in paragraph 31.
17
18          AFFIRMATIVE DEFENSES AS TO ALL CLAIMS FOR RELIEF
19                            FIRST AFFIRMATIVE DEFENSE
20                            (Failure to State a Cause of Action)
21          1.      The Complaint and every purported claim for relief therein, fails to
22    set forth facts sufficient to state a cause of action against these answering
23    Defendants.
24                          SECOND AFFIRMATIVE DEFENSE
25                                     (Lack of Standing)
26          2.      Plaintiffs lack standing to pursue their alleged claims under any
27    federal law and under any state laws predicated upon any alleged violations.
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 1                            THIRD AFFIRMATIVE DEFENSE
 2                                       (Unclean Hands)
 3          3.       Plaintiffs’ claims are barred under the doctrine of unclean hands.
 4                           FOURTH AFFIRMATIVE DEFENSE
 5                                  (Conduct of Third Parties)
 6          4.       Although Defendants deny Plaintiffs have been damaged in any way,
 7    if it is determined Plaintiffs have been damaged, then Defendants allege upon
 8    information and belief that the proximate cause of such damages was the conduct
 9    of Plaintiffs, or others for which Defendants were not and are not responsible.
10                             FIFTH AFFIRMATIVE DEFENSE
11                                   (No Basis for Damages)
12          5.       Defendants are informed and believe and based thereon allege that
13    Plaintiffs have not suffered any damage as a result of any actions taken by
14    Defendants, and Plaintiffs are thereby barred from asserting any claims against
15    Defendants.
16                            SIXTH AFFIRMATIVE DEFENSE
17                                       (Lack of Notice)
18          6.       Plaintiffs’ claims are barred because Plaintiffs failed to provide any
19    notice to Defendants regarding any alleged violations prior to filing this lawsuit.
20                          SEVENTH AFFIRMATIVE DEFENSE
21                                  (Defendants’ Good Faith)
22          7.       Defendants acted reasonably and in good faith at all times material
23    herein, based on all relevant facts, law and circumstances known to them at the
24    time. Accordingly, Plaintiffs are barred, in whole or in part, from any recovery in
25    this action.
26    ///
27    ///
28    ///
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 1                            EIGHTH AFFIRMATIVE DEFENSE
 2                                (Failure to Mitigate Damages)
 3           8.       Although Defendants deny Plaintiffs have been damaged in any way,
 4    if it is determined Plaintiffs have been damaged, then Defendants allege upon
 5    information and belief that Plaintiffs have failed to mitigate their purported
 6    damages and further allege, to the extent any damages could have been mitigated,
 7    such sums should be deducted from any award of damages.
 8                             NINTH AFFIRMATIVE DEFENSE
 9                                           (Estoppel)
10           9.       Plaintiffs are estopped from asserting and/or recovering on any claims
11    against Defendants by reason of Plaintiffs’ own acts, omissions, and conduct,
12    including Plaintiffs’ violation(s) of the terms of the Lease Agreement.
13                             TENTH AFFIRMATIVE DEFENSE
14                                            (Waiver)
15           10.      Plaintiffs are barred by the equitable doctrine of waiver from
16    asserting any claim against Defendants.
17                          ELEVENTH AFFIRMATIVE DEFENSE
18                             (Compliance with Governing Laws)
19           11.      Defendants’ good faith compliance with the statutes, rules, and
20    regulations which govern the subject matter of this lawsuit precludes their liability
21    to Plaintiff.
22                           TWELFTH AFFIRMATIVE DEFENSE
23                                        (Undue Burden)
24           12.      The Complaint, and each purported claim for relief alleged in the
25    Complaint, is barred because granting relief sought by Plaintiffs would result in an
26    undue burden on Defendants.
27    ///
28    ///
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 1                       THIRTEENTH AFFIRMATIVE DEFENSE
 2                                   (Reasonable Conduct)
 3            13.   Defendants allege that all acts, purported omissions, representations
 4   and/or other conduct of Defendants as alleged in the Complaint, were done fairly,
 5   in good faith, with an absence of malice, for a lawful purpose, and with reasonable
 6   grounds for believing that Defendants acted in compliance with federal and state
 7   law or other applicable rules and regulations.
 8                       FOURTEENTH AFFIRMATIVE DEFENSE
 9              (Barred from Recovery Under California B&P Code § 17200)
10            14.   Defendants are informed and believe and based thereon allege that
11   Plaintiffs’ purported claim for relief under California Business & Professions
12   Code §17200, et seq., is barred because the remedy for such actions is limited to
13   restitution and injunctive relief, and the relief sought by Plaintiffs constitutes
14   damages.
15                        FIFTEENTH AFFIRMATIVE DEFENSE
16                                (Damages Too Speculative)
17            15.   Defendants are informed and believe and based thereon allege that
18   Plaintiffs’ claims for damages, are barred to the extent that they are speculative in
19   nature and/or not allowed under California Business & Professions Code § 17200,
20   et seq.
21                        SIXTEENTH AFFIRMATIVE DEFENSE
22                     (Failure to State a Claim for Punitive Damages)
23            16.   The Complaint fails to state facts sufficient to constitute a cause of
24   action against Defendants upon which an award of punitive damages could be
25   based.
26   ///
27   ///
28   ///
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 1                     SEVENTEENTH AFFIRMATIVE DEFENSE
 2                                 (Statutes of Limitation)
 3         17.    All or a portion of the Complaint is barred by the applicable statutes
 4   of limitation.
 5                     EIGHTEENTH AFFIRMATIVE DEFENSE
 6                     (Failure to Exhaust Administrative Remedies)
 7         18.    Plaintiffs are barred from claiming any injury or damage because
 8   Plaintiffs have failed to exhaust their administrative remedies.
 9                     NINETEENTH AFFIRMATIVE DEFENSE
10                                  (Conduct Privileged)
11         19.    Plaintiffs’ claims are barred, in whole or in part, because Defendants’
12   conduct was justified and/or privileged.
13                      TWENTIETH AFFIRMATIVE DEFENSE
14                            (Comparative Fault of Plaintiffs)
15         20.    Defendants are informed and believe and based thereon allege that
16   Plaintiffs’ damages, if any, are due in whole or in part to the proximate,
17   contributory and comparative fault of Plaintiffs, and that any liability of these
18   answering Defendants, which liability is specifically denied, should be reduced
19   and/or barred in proportion to said fault.
20                    TWENTY-FIRST AFFIRMATIVE DEFENSE
21                                    (Breach of Lease)
22         21.    Defendants are informed and believe and based thereon allege that
23   Plaintiffs’ have breached the lease. Plaintiffs failed to comply with their
24   obligations under the rental agreement.
25                    TWENTY-SECOND AFFIRMATIVE DEFENSE
26                                        (Privilege)
27         22.    Defendants are informed and believe and based thereon allege that
28   Defendants were privileged to protect their interest in the premises. Plaintiffs are
                                                  11
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 1   barred from recovery herein by reason of the fact that Plaintiffs failed to perform
 2   conditions of the lease which were to be performed on Plaintiffs’ part, and that
 3   Plaintiffs are in material breach of the lease.
 4                    TWENTY-THIRD AFFIRMATIVE DEFENSE
 5                                (Privilege, Civil Code § 47)
 6         23.    Defendants are informed and believe and based thereon allege that the
 7   acts, communications and conduct by Defendants of which Plaintiffs complain, if
 8   they occurred (which shall not constitute an admission), were privileged by virtue
 9   of Civil Code § 47.
10                   TWENTY-FOURTH AFFIRMATIVE DEFENSE
11                                   (Reserved Defenses)
12         24.    Defendants allege they cannot fully anticipate all affirmative defenses
13   that may be applicable to this action and presently have insufficient knowledge or
14   information on which to form a belief as to whether they may have further, as yet
15   unstated affirmative defenses available. Accordingly, Defendants expressly
16   reserve the right to assert further defenses if, and to the extent, such affirmative
17   defenses become known.
18                                 PRAYER FOR RELIEF
19         WHEREFORE, Defendants LAGOON ASSOCIATES, LLC, and
20   COASTLINE REAL ESTATE ADVISORS, INC., pray for judgment as follows:
21         1.     That the Complaint be dismissed with prejudice and that judgment be
22                entered in favor of Defendants;
23         2.     That Plaintiffs take nothing by way of their Complaint;
24   ///
25   ///
26   ///
27   ///
28   ///
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 1        3.    That Defendants be awarded costs of suit incurred in defense of this
 2              action, including their reasonable attorney’s fees; and
 3        4.    For such other and further relief as the Court deems just and proper.
 4
 5   Dated: September 14, 2015            STEVEN M. GARBER & ASSOCIATES
                                          A PROFESSIONAL CORPORATION
 6
 7
                                          By: /s/ Steven M. Garber
 8                                        STEVEN M. GARBER
                                          Attorneys for Defendants,
 9                                        LAGOON ASSOCIATES, LLC and
                                          COASTLINE REAL ESTATE
10                                        ADVISORS, INC.
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